             Entered on Docket March 4, 2020
                                                            Below is the Order of the Court.


 1

 2                                                           ___________________
                                                             Christopher M. Alston
 3                                                           U.S. Bankruptcy Judge
                                                             (Dated as of Entered on Docket date above)
 4

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 6      _______________________________________________________________
 7

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 9

10                         IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE WESTERN DISTRICT OF WASHINGTON AT SEATTLE
11
                                                            Case No. 17-11872-CMA
12
     In re                                                  ORDER APPROVING SALE OF
13
                                                            PORTLAND REAL PROPERTY FREE
14   TOC HOLDINGS CO., fka TIME OIL CO.,                    AND CLEAR OF INTERESTS AND
                                                            ASSIGNMENT OF UNEXPIRED
15                                                          LEASE
              Debtor.
16

17            This matter came on for hearing before the Court on the Trustee’s Motion for Order

18   Approving Sale of Portland Real Property Free and Clear of Interests and Assignment of

19   Unexpired Lease [Dkt. No. 773]
                               750] (the “Sale Motion”) filed by Edmund J. Wood as Chapter 7

20   Trustee for the bankruptcy estate of TOC Holdings Co., fka Time Oil Co. in the above-captioned

21   case (the “Trustee”) on February 28, 2020 pursuant to 11 U.S.C. §§ 105, 363 and 365 and Rules

22   2002 and 9014 of the Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”).

23            The Trustee is seeking to sell real property commonly described as 10350 N. Time Oil

24   Road, Portland, OR, including any and all fixtures and personal property, and all rights and

25   benefits appurtenant to, or associated with, such real property (including, but not limited to, all

26   entitlements, permits, approvals, easements, and water and mineral rights) (the “Real Property”)


     ORDER - 1                                                                     FOSTER GARVEY PC
                                                                                  1111 THIRD AVENUE, SUITE 3000
                                                                                SEATTLE, WASHINGTON 98101-3292
                                                                              PHONE (206) 447-4400 FAX (206) 447-9700

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 1   as legally described in Exhibit A hereto, and to assume and assign a Submerged and
 2   Submersible Land Lease ML 7483 (the “Lease” and collectively with the Real Property, the

 3   “Property”). The Property constitutes property of the bankruptcy estate of TOC Holdings Co.,

 4   fka Time Oil Co. (the “Debtor”). The proposed sale is to Restorcap, LLC, a California limited

 5   liability company, or assigns (“Restorcap”) and is being done pursuant to the terms of the Asset

 6   Purchase Agreement made effective December 4, 2019 and attached hereto as Exhibit B and
 7   incorporated herein by this reference (the “PSA”).

 8            The Court held a hearing on the Sale Motion on February 28, 2020, and having

 9   considered the submissions and arguments of counsel and the files and records herein, and being

10   now fully advised of the premises,

11            THE COURT FINDS as follows 1:

12                         Jurisdiction, Final Order, and Statutory Predicates
13            A.     This Court has jurisdiction to hear and determine the Sale Motion pursuant to 28
14   U.S.C. §§ 157 and 1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).
15   Venue is proper in this District pursuant to 28 U.S.C. §§ 1408 and 1409.
16            B.     The statutory predicates for the relief requested in the Sale Motion are 11 U.S.C.
17   §§ 105(a), 363 and 365 and Bankruptcy Rules 2002, 6004, 6006, 9007 and 9014.
18            C.     This Order (the “Sale Order”) constitutes a final order within the meaning of 28
19   U.S.C. § 158(a).

20                                     Notice of the Sale and Auction
21            D.     As set forth in
                                  at Dkt.
                                     Dkt 775-1,
                                          No. 752, actual written notice of the Sale Motion was provided

22   to (i) all parties on the mailing matrix, (ii) counsel to Restorcap; (iii) State of Oregon acting by

23   and through the Division of Lands (“State of Oregon”); (iv) Oregon Department of

24   Environmental Quality (“ODEQ”); (v) Environmental Protection Agency (“EPA”); (vi) parties

25
     1
26    The headings used herein are for convenience and are not intended to evidence findings by the
     Court.

     ORDER - 2                                                                     FOSTER GARVEY PC
                                                                                  1111 THIRD AVENUE, SUITE 3000
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 1   appearing on title to the Real Property and (vii) all individuals and entities who have contacted

 2   the Trustee and/or broker Kidder Mathews and previously expressed an interest in purchasing the

 3   Property (collectively, the “Notice Parties”).
 4            E.     Service of the Sale Motion on the Notice Parties was reasonably calculated to

 5   provide all interested parties with timely and proper notice of the Sale in accordance with 11

 6   U.S.C. §§ 105(a), 363 and 365 and Bankruptcy Rules 2002, 6004, 6006, 9007, 9008 and 9014.

 7            F.     The disclosures made by the Trustee concerning the Sale and the Sale Hearing

 8   were good, complete, and adequate.

 9            G.     A reasonable opportunity to object and be heard with respect to the Sale Motion,

10   and the relief requested therein, including the assignment of the Lease, has been afforded to all

11   interested persons and entities, including the Notice Parties.

12                                         Highest and Best Offer
13            H.     Restorcap is proposing to pay a purchase price for the Property in an amount of

14   (a) One Million and 00/100 Dollars ($1,000,000.00) plus (b) the payment of all outstanding

15   Property taxes, plus (c) the Broker’s commission. The total purchase price shall not exceed

16   $1,500,000.00 (collectively the “Purchase Price”).

17            I.     The Trustee entertained offers up until the hearing on February 21,
                                                                                     28, 2020, and

18   considered further offers by way of an auction to be held on February 28, 2020. As a result,

19   there was a reasonable opportunity given to third parties to make a higher or otherwise better

20   offer for the Property.

21                                        Good Faith of Restorcap
22            J.     The PSA was negotiated, proposed and entered into by the Trustee and Restorcap

23   without collusion, in good faith and from arm’s-length bargaining positions.

24            K.     Restorcap is not an “insider” or “affiliate” of the Debtor as those terms are

25   defined in the United States Bankruptcy Code. Neither the Trustee nor Restorcap has engaged in

26   any conduct that would cause or permit the PSA to be avoided under 11 U.S.C. § 363(m).

     ORDER - 3                                                                    FOSTER GARVEY PC
                                                                                 1111 THIRD AVENUE, SUITE 3000
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 1   Specifically, Restorcap has not acted in a collusive manner with any person and the Purchase

 2   Price to be paid by Restorcap for the Property has not been controlled by any agreement with any

 3   other entity or party.

 4            L.     Restorcap is not a mere continuation of the Debtor or its estate. Restorcap is not

 5   holding itself out to the public as a continuation of the Debtor. Restorcap is not a successor to

 6   the Debtor or its estate and the Sale does not amount to a consolidation, merger, or de facto

 7   merger of Restorcap and the Debtor.

 8            M.     Restorcap is purchasing the Property in good faith and is a good-faith buyer

 9   within the meaning of 11 U.S.C. § 363(m).

10                                         Adequate Consideration
11            N.     The Purchase Price provided by Restorcap pursuant to the PSA (i) is fair and

12   reasonable, (ii) is the highest or otherwise best offer for the Property, (iii) will provide a greater

13   recovery to the Trustee than would be provided by any other available alternative, (iv)

14   constitutes reasonably equivalent value; and (v) is fair consideration.

15            O.     No other person, entity, or group of entities has offered to purchase the Property

16   since Restorcap submitted its offer to the Trustee.

17            P.     The PSA was not entered into for the purpose of hindering, delaying, or

18   defrauding creditors. Neither the Trustee nor Restorcap are fraudulently entering into the

19   transaction contemplated by the PSA.

20                      PSA Constitutes an Offer in the Best Interests of the Estate
21            Q.     The Trustee has determined that the PSA constitutes the highest and best offer for

22   the Property. Approval of the Sale Motion and the PSA, and the consummation of the

23   transactions contemplated thereby, is in the best interests of the Debtor, its estate, creditors and

24   other parties in interest.

25

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     ORDER - 4                                                                      FOSTER GARVEY PC
                                                                                   1111 THIRD AVENUE, SUITE 3000
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 1                                             Validity of Transfer
 2            R.        The Trustee has full power and authority to execute and deliver the PSA and all

 3   other documents contemplated thereby and to consummate the Sale pursuant to the United States

 4   Bankruptcy Code and the orders of this Court.

 5            S.        The Trustee has good and marketable title to the Property and is the lawful

 6   Chapter 7 bankruptcy trustee of the Property. Subject to 11 U.S.C. § 363(f), the transfer of the

 7   Property to Restorcap will be, as of the closing of the transactions contemplated by the PSA (the

 8   “Closing Date”), a legal, valid, and effective transfer of the Property, which transfer vests
 9   Restorcap with all right, title, and interest of the Debtor to the Property free and clear of any

10   interest in the Property, including (i) all liens and encumbrances relating to, accruing or arising

11   any time prior to the Closing Date (collectively, “Liens”) and (ii) all debts arising under, relating
12   to or in connection with any act of the Debtor or claims (as that term is defined in 11 U.S.C. §

13   101(5) and herein), of any kind and nature, whether arising prior to or subsequent to the

14   commencement of this case, and whether imposed by agreement, understanding, law, equity, or

15   otherwise relating to, accruing or arising any time prior to the Closing Date (collectively the

16   “Claims”), with the exception of Permitted Encumbrances set forth in the PSA.
17                                          Section 363(f) is Satisfied
18            T.        The conditions of 11 U.S.C. § 363(f) have been satisfied in full. Therefore, the

19   Trustee may sell the Property free and clear of any interest in the Property. Restorcap would not

20   have entered into the PSA and would not consummate the transactions contemplated thereby if

21   the Sale as set forth in the PSA were not free and clear of all interests, including Liens and

22   Claims.

23            U.        The Trustee may sell the Property free and clear of all interests, including Liens

24   and Claims against the Debtor, its estate, or any of the Property because, in each case, one or

25   more of the standards set forth in 11 U.S.C. §§ 363(f)(1)-(5) have been satisfied and any

26   objection
     objections    asserting otherwise are overruled. Those holders of interests against the Debtor, its

     ORDER - 5                                                                      FOSTER GARVEY PC
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 1   estate or any of the Property who withdrew their objections to the Sale or the Sale Motion are

 2   deemed to have consented pursuant to 11 U.S.C. § 363(f)(2).

 3                               Compelling Circumstances for an Immediate Sale
 4            V.     Good and sufficient reasons for approval of the PSA and the Sale have been

 5   articulated. The relief requested in the Sale Motion is in the best interests of the Trustee, the

 6   Debtor’s estate, the Debtor’s creditors and other parties in interest. The Trustee has demonstrated

 7   (i) good, sufficient and sound business purposes and justifications for approving the PSA and (ii)

 8   compelling circumstances for the Sale outside of the ordinary course of business pursuant to 11

 9   U.S.C. § 363(b), in that, among other things, the immediate consummation of the Sale to

10   Restorcap is necessary and appropriate to minimize the potential liability for continuing

11   contamination on the Property, to maximize the value of the Debtor’s estate and to maximize

12   distributions to its creditors.

13            W.     Given the circumstances of this Chapter 7 case and the adequacy and fair value of

14   the Purchase Price under the PSA, the proposed Sale constitutes a reasonable and sound exercise

15   of the Trustee’s business judgment and should be approved.

16            X.     The consummation of the Sale and the assignment of the Lease is legal, valid and

17   properly authorized under all applicable provisions of the United States Bankruptcy Code,

18   including 11 U.S.C. §§ 105(a), 363(b), 363(f), 363(m) and 365.

19                                     Adequate Assurance of Future Performance
20            Y.     The State of Oregon has not requested adequate assurances of future performance

21   from Restorcap in regards to the assignment of the Lease pursuant to 11 U.S.C. § 365(b)(1)(C).

22   Nor has the State of Oregon asserted any claims or rights of “cure,” nor any unpaid

23   administrative expense claims arising prior to the Closing Date, in connection with or pursuant to

24   the Lease for which RestorCap will be responsible for payment. On the Closing Date, the State

25   of Oregon and Restorcap will execute a mutually agreeable separate assignment of the Lease.

26

     ORDER - 6                                                                     FOSTER GARVEY PC
                                                                                  1111 THIRD AVENUE, SUITE 3000
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 1            NOW, THEREFORE, IT IS HEREBY ORDERED AS FOLLOWS:

 2                                              General Provisions
 3            1.     The relief requested in the Sale Motion, including approval of the Sale, is granted

 4   to the extent set forth in this Sale Order.

 5           2.
             2.       Any Trustee
                      The  objections
                                    mayto sell
                                          the Sale Motion orfree
                                               the Property    the and
                                                                   reliefclear
                                                                           requested   therein thatincluding
                                                                               of all interests,     have not
     Liens and Claims against the Debtor, its estate, or any of the Property because, in each
 6   been
     case,withdrawn,
            one or more  waived,
                           of thesettled by announcement
                                  standards    set forth in 11during
                                                               U.S.C.the§§Sale  Hearing, orhave
                                                                             363(f)(1)-(5)    by stipulation
                                                                                                    been
     satisfied and any objections asserting otherwise are overruled. Those holders of interests
 7   filed with the Court, are hereby denied and overruled by this Court. Those parties who did not
     against the Debtor, its estate or any of the Property who withdrew their objections to the
 8   Sale ororthe
     object     thatSale Motiontheir
                     withdrew    areobjections
                                      deemed totohave     consented
                                                    the Sale          pursuant
                                                              Motion at   or prior to
                                                                                    to 11
                                                                                       theU.S.C.   § 363(f)(2).
                                                                                           Sale Hearing   are

 9   deemed to have consented to the Sale pursuant to 11 U.S.C. § 363(f)(2).

10                                                 Consideration
11            3.     Restorcap has offered valuable consideration to the Trustee under the PSA for the
12   purchase of the Property, including cash payment of (a) One Million and 00/100 Dollars
13   ($1,000,000.00) plus (b) the payment of all outstanding Property taxes, plus (c) the Broker’s
14   commission. The total purchase price shall not exceed $1,500,000.00 (collectively the “Purchase
15   Price”). In addition, Restorcap is assuming all costs associated with entering into a Prospective
16   Purchaser Agreements Consent Decree (“PPAs”) with ODEQ and EPA and with remediating the
17   Property in accordance with the PPAs
18            4.     The Purchase Price given by Restorcap shall constitute valid and valuable
19   consideration for the release of any potential interests, including Liens and Claims pursuant to

20   this Sale Order, which release shall be deemed to have been given in favor of Restorcap by all

21   holders of Liens against or interests in, or Claims against, the Debtor or any of the Property. The

22   Purchase Price provided by Restorcap for the Property is fair and reasonable and accordingly the

23   purchase may not be avoided under 11 U.S.C. § 363(m).

24            5.     The Purchase Price provided by Restorcap to the Trustee pursuant to the PSA for

25   the Acquired Assets constitutes reasonably equivalent value and fair consideration.

26

     ORDER - 7                                                                         FOSTER GARVEY PC
                                                                                      1111 THIRD AVENUE, SUITE 3000
                                                                                    SEATTLE, WASHINGTON 98101-3292
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 1                                           Approval of the PSA
 2            6.     The PSA and all agreements and documents ancillary thereto (collectively, the

 3   “Ancillary Agreements”) and all of the terms and conditions thereof are hereby approved.
 4            7.     Pursuant to 11 U.S.C. §§ 363(b) and (f), the Trustee is authorized, empowered,

 5   directed and ordered to take any and all actions necessary or appropriate to (i) close the Sale

 6   pursuant to, and in accordance with, the terms and conditions of the PSA and this Sale Order,

 7   and (ii) execute and deliver, perform under, consummate, implement and fully close the PSA,

 8   including the assignment of the Lease to Restorcap, together with all additional instruments and

 9   documents that may be reasonably necessary or desirable to implement the PSA and

10   consummate the Sale.

11            8.     This Sale Order shall be binding in all respects upon (a) the Trustee, (b) the estate,

12   (c) all creditors of, and holders of equity interests in, the Debtor, (d) any holders of interests,

13   including Liens and Claims in, against, or on all or any portion of the Property provided with

14   notice, (e) Restorcap and all successors and assigns of Restorcap, and (f) the Property. This Sale

15   Order and the PSA shall inure to the benefit of the Trustee, the Debtor’s estate and creditors,

16   Restorcap, and the respective successors and assigns of each of the foregoing.

17                        Transfer of the Property and Distribution of Proceeds
18            9.     Pursuant to 11 U.S.C. §§ 105(a), 363(b) and 363(f), the Trustee is authorized,
19   directed and ordered to transfer the Property to Restorcap on the Closing Date and such transfer

20   shall constitute a legal, valid, binding, and effective transfer of such Property and shall vest

21   Restorcap with title to the Property free and clear of all interests, including Liens and Claims,

22   except Permitted Exceptions (also known as Permitted Encumbrances at Schedule 4.2 of the

23   PSA) and Assumed Liabilities as identified by Restorcap in the PSA.

24            10.    All interests, including Liens and Claims shall attach to the proceeds of the Sale

25   in the order of their priority, with the same validity, force, and effect that they now have as

26

     ORDER - 8                                                                      FOSTER GARVEY PC
                                                                                   1111 THIRD AVENUE, SUITE 3000
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 1   against the Property. Upon the Closing Date, Restorcap shall take title to and possession of the

 2   Property.

 3             11.   The provisions of this Sale Order authorizing the sale of the Property free and

 4   clear of interests, including Liens and Claims shall be self-executing and neither the Trustee nor

 5   Restorcap shall be required to execute or file releases, termination statements, assignments,

 6   consents, or other instruments in order to effectuate, consummate, and implement the provisions

 7   of this Sale Order.

 8             12.   The Trustee is hereby authorized, directed and ordered to take any and all actions

 9   necessary to consummate the PSA.

10             13.   The Portland office of Fidelity National Title as Escrow Agent (the “Escrow

11   Agent”) is authorized to close the sale as provided in the PSA and the Sale Order herein by

12   recording the Trustee’s Bargain and Sale Deed in the records of Multnomah County, Oregon and

13   is further authorized and directed to pay (1) all delinquent real property taxes to Multnomah

14   County and any other fees and charges due and owing to the city of Portland in accordance with

15   the provisions of the PSA; (2) any delinquent utility bills or charges owed to any business or

16   government agency; (3) the commission due and owing to listing and selling broker Kidder

17   Mathews; and (4) 50% of the closing costs from the proceeds for the sale on behalf of the

18   bankruptcy estate. The Escrow Agent is directed to deliver the net proceeds from the sale to the

19   Trustee in accordance with escrow instructions to be provided by the Trustee.

20             14.   The Escrow Agent is authorized to execute and record any documents, including

21   termination statements, reconveyances and lien releases to effectuate the Sale free and clear of

22   interests including Liens and Claims.

23             15.   The Escrow Agent may file a certified copy of this Sale Order with the

24   appropriate clerk and/or record this Sale Order with the recorder to act to cancel any interests of

25   record.

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     ORDER - 9                                                                   FOSTER GARVEY PC
                                                                                1111 THIRD AVENUE, SUITE 3000
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 1            16.    On the Closing Date, this Sale Order shall be construed, and shall constitute for

 2   any and all purposes, a full and complete general assignment, conveyance, and transfer of the

 3   Debtor’s interests in the Property. This Sale Order is and shall be effective as a determination

 4   that, on the Closing Date, all interests including Liens and Claims of any kind or nature

 5   whatsoever existing as to the Property prior to the Closing Date shall have been unconditionally

 6   released, discharged and terminated, and that the conveyances described herein have been

 7   effected; provided, that such interests including Liens and Claims shall attach to the proceeds of

 8   the Sale in the order of their priority, with the same validity, force, and effect that they now have

 9   as against the Property.

10            17.    The net proceeds of the Sale shall be held by the Trustee pending further order of
11   this Court.
12            18.    This Sale Order is and shall be binding upon and govern the acts of all persons
13   and entities with notice of the Sale Motion and this Sale Order, including all filing agents, filing
14   officers, title agents, title companies, recorders of mortgages and deeds, administrative agencies,
15   governmental departments, and all other persons and entities who may be required by operation
16   of law, the duties of their office, or contract to accept, file, register, or otherwise record or release
17   any documents or instruments, or who may be required to report or insure any title or state of
18   title in or to any lease; and each of the foregoing persons and entities is hereby directed to accept
19   for filing any and all of the documents and instruments necessary and appropriate to consummate

20   the transactions contemplated by the PSA.

21                                      Assignment of Assumed Lease
22            19.    Pursuant to 11 U.S.C. §§ 105(a) and 365, and subject to and conditioned upon the

23   closing of the Sale, the Trustee’s assignment to Restorcap of the Lease, and Restorcap’s

24   acceptance of the assignment of the Lease on the terms set forth in Assignment and Assumption

25   Agreement appended hereto as Exhibit C and incorporated herein by this reference is hereby
26   approved and the requirements of 11 U.S.C. § 365(f)(2) with respect thereto are hereby deemed

     ORDER - 10                                                                     FOSTER GARVEY PC
                                                                                   1111 THIRD AVENUE, SUITE 3000
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 1   satisfied because (i) the Trustee assumed the Lease in accordance with the order at Dkt No. 489;

 2   (ii) the State of Oregon has not objected to the assignment; (iii) no cure will be required for the

 3   assignment of the Lease as the Trustee will continue to pay the annual lease payments and any

 4   other fees and costs until closing of the Sale and assignment of the Lease, nor are there any

 5   administrative expense claims relating to the Lease outstanding as of February 28, 2020 and the

 6   Trustee shall satisfy any pre-Closing administrative expense claims that arise on or after entry of

 7   this Sale Order; (iv) Restorcap has the ability to provide adequate assurance of future

 8   performance; and (v) the State of Oregon, Restorcap and the Trustee will execute any necessary

 9   additional assignment documents mutually agreed to by the State of Oregon and Restorcap for

10   the assignment of the Lease to Restorcap on the Closing Date.

11            20.    The Trustee is hereby authorized and directed in accordance with 11 U.S.C. §§

12   105(a), 363, and 365 to (a) assign to Restorcap, effective as of the Closing Date, the Lease free

13   and clear of all Claims, Liens, or other interests of any kind or nature whatsoever and (b) execute

14   and deliver to Restorcap such documents or other instruments as may be necessary to assign and

15   transfer the Lease to Restorcap.

16            21.    The Lease shall be transferred to, and remain in full force and effect for the

17   benefit of Restorcap in accordance with the respective Lease terms, notwithstanding any

18   provision in the Lease (including those of the type described in 11 U.S.C. §§ 365(b)(2) and (f))

19   that prohibits, restricts, or conditions such assignment or transfer.

20            22.    In addition, pursuant to 11 U.S.C. § 365(k), the Trustee and the Debtor’s

21   bankruptcy estate shall be relieved from any further liability with respect to the Lease after such

22   assignment to, and assumption by, Restorcap in accordance with the PSA.

23            23.    All parties to the Lease are forever barred and enjoined from raising or asserting

24   against Restorcap any assignment fee, default, breach, Claim, pecuniary loss, or condition to

25   assignment arising under or related to the Lease existing as of the Closing Date or arising by

26   reason of the Closing, except for any amounts that may be assumed by Restorcap.

     ORDER - 11                                                                   FOSTER GARVEY PC
                                                                                 1111 THIRD AVENUE, SUITE 3000
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 1                               Prohibition of Actions Against Restorcap
 2            24.    Except as otherwise expressly provided for in this Sale Order or the PSA,

 3   Restorcap shall not have any liability or other obligation of the Debtor or any of its predecessors

 4   or affiliates arising under or related to any of the Property because Restorcap is not and shall not

 5   be a successor in interest to the Debtor.

 6            25.    All persons and entities, with notice of the Sale Motion are hereby forever barred,

 7   estopped, and permanently enjoined from asserting against Restorcap, any of its affiliates, their

 8   respective successors or assigns, their respective property or the Property, such persons’ or

 9   entities’ interests including Liens or Claims in and to the Property.

10            26.    Except as otherwise provided herein and except as to any person who seeks a stay

11   of this Sale Order pending appeal, all persons and entities with notice of the Sale Motion are

12   hereby forever prohibited and enjoined from taking any action that would adversely affect or

13   interfere with the ability of the Trustee to sell and transfer the Property to Restorcap in

14   accordance with the terms of the PSA.

15                                               Attorney in Fact
16            27.    Effective as of the Closing, and to the extent permitted by law, Restorcap and
17   its successors and assigns shall be designated and appointed the Debtor’s true and lawful
18   attorney in fact with full power of substitution, for the following limited purposes: to demand
19   and receive possession from any third party any and all of the Property or any part thereof, and

20   from time to time to institute and prosecute against third parties for the benefit of Restorcap, its

21   successors and assigns, any and all proceedings at law, in equity or otherwise, that Restorcap or

22   its successors and assigns, may deem proper to obtain possession of the Property or any part

23   thereof.

24                                               Other Provisions
25            28.    Nothing in this Sale Order or the PSA releases, nullifies, precludes, or enjoins the

26   enforcement of any police or regulatory liability to a governmental unit of the United States or

     ORDER - 12                                                                   FOSTER GARVEY PC
                                                                                 1111 THIRD AVENUE, SUITE 3000
                                                                               SEATTLE, WASHINGTON 98101-3292
                                                                             PHONE (206) 447-4400 FAX (206) 447-9700

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     Case 17-11872-CMA          Doc 818     Filed 03/04/20      Ent. 03/04/20 10:40:54             Pg. 12 of 26
                                                           Below is the Order of the Court.


 1   Oregon that any entity would otherwise be subject to as the owner or operator of property either

 2   before or after the Closing Date. Nothing in this Sale Order or the PSA authorizes the transfer or

 3   assignment of any governmental (a) license, (b) permit, (c) registration, (d) authorization or (e)

 4   approval, or the discontinuation of any obligation thereunder, without compliance with all

 5   applicable legal requirements under police or regulatory law and without such government

 6   entity’s consent. To avoid the appearance of uncertainty, the State of Oregon previously

 7   consented to the assumption of the Lease by the Trustee and has consented to the assignment of

 8   the Lease by the Trustee to Restorcap subject to the execution of additional State of Oregon

 9   documentation to be mutually agreed by the State of Oregon and Restorcap. Nothing in this Sale

10   Order shall be interpreted to deem Restorcap as the successor to the Debtor under any federal or

11   state law successor liability doctrine. Nothing in this paragraph should be construed to create

12   for any governmental unit any substantive right that does not already exist under law, nor shall

13   this paragraph be deemed a waiver of any rights, remedies, or defenses available to Restorcap

14   under applicable non-bankruptcy law. Notwithstanding the foregoing provisions in this

15   paragraph 28, Restorcap shall not waive the condition precedent set forth in section 2.5 of the

16   PSA that conditions Restorcap’s obligation to proceed with the Closing on its entry into final

17   Prospective Purchaser Agreements (“PPAs”) with both the EPA and the ODEQ, by which PPAs

18   the Parties intend to fully resolve Restorcap’s liability to EPA and ODEQ for the Assumed

19   Liabilities, as defined in the PPAs.

20            29.    This Sale Order, the PSA and the Ancillary Agreements shall be binding in all

21   respects upon all creditors and equity-holders of the Debtor, all successors and assigns of the

22   Debtor and its affiliates and subsidiaries, and any trustees, examiners, “responsible persons,” or

23   other fiduciaries appointed in the Debtor’s Chapter 7. The PSA and the Ancillary Agreements

24   shall not be subject to rejection or avoidance under any circumstances.

25            30.    The PSA and the Ancillary Agreements may be modified, amended, or

26   supplemented by the parties thereto, in a writing signed by the parties and in accordance with the

     ORDER - 13                                                                  FOSTER GARVEY PC
                                                                                1111 THIRD AVENUE, SUITE 3000
                                                                               SEATTLE, WASHINGTON 98101-3292
                                                                            PHONE (206) 447-4400 FAX (206) 447-9700

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     Case 17-11872-CMA         Doc 818      Filed 03/04/20     Ent. 03/04/20 10:40:54             Pg. 13 of 26
                                                            Below is the Order of the Court.


 1   terms thereof, without further order of the Court, provided that any such modification,

 2   amendment, or supplement does not have a material adverse effect on the Debtor’s estate, or any

 3   other creditor or interested party.

 4            31.    The transactions contemplated by the PSA are undertaken by Restorcap without

 5   collusion and in good faith, as that term is defined in 11 U.S.C. § 363(m), and, accordingly, the

 6   reversal or modification on appeal of the authorization provided herein to consummate the Sale

 7   shall not affect the validity of the Sale, unless such authorization and such Sale are duly stayed

 8   pending such appeal. Restorcap is a good faith buyer within the meaning of 11 U.S.C. § 363(m),

 9   and, as such, is entitled to the full protections of 11 U.S.C. § 363(m).

10            32.    It is the intent of the Trustee and Restorcap that any subsequent order entered in

11   this Chapter 7 case not conflict with or derogate from the provisions of the PSA or the terms of

12   this Sale Order.

13            33.    No bulk sales law or any similar law of any state or other jurisdiction applies in

14   any way to the Sale.

15            34.    The failure to specifically include any particular provision of the PSA in this Sale
16   Order shall not diminish or impair the effectiveness of such provision, it being the intent of the
17   Court that the PSA be authorized and approved in its entirety, except as set forth herein;
18   provided, however, that this Sale Order shall govern if there is any inconsistency between the
19   PSA, the Ancillary Agreements and this Sale Order. Likewise, all of the provisions of this Sale

20   Order are non-severable and mutually dependent.

21            35.    The Court shall retain jurisdiction to, among other things, interpret, implement,

22   and enforce the terms and provisions of this Sale Order, the PSA and the Ancillary Agreements

23   and any waivers and consents thereunder and each and every other agreement executed in

24   connection therewith to which the Debtor is a party or which has been assigned by the Trustee to

25   Restorcap, and to adjudicate, if necessary, any and all disputes concerning or relating in any way

26   to the Sale, including, but not limited to, retaining jurisdiction to (a) compel delivery of the

     ORDER - 14                                                                      FOSTER GARVEY PC
                                                                                    1111 THIRD AVENUE, SUITE 3000
                                                                                  SEATTLE, WASHINGTON 98101-3292
                                                                                PHONE (206) 447-4400 FAX (206) 447-9700

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                                                            Below is the Order of the Court.


 1   Property to Restorcap; (b) interpret, implement, and enforce the provisions of this Sale Order;

 2   and (c) protect Restorcap against any Liens, Claims, or other interests in or against the Debtor or

 3   the Property of any kind or nature whatsoever, attaching to the proceeds of the Sale.

 4            36.    The Trustee shall file with the Court a status update on the consummation of the

 5   sale of the Property, commencing on or about April 1, 2020 and bi-monthly thereafter through

 6   the Closing Date.

 7            37.    Any amounts payable by the Trustee under the PSA shall be paid in the manner

 8   provided in the PSA.

 9            38.    All time periods set forth in this Sale Order shall be calculated in accordance with

10   Bankruptcy Rule 9006(a).

11            39.    To the extent that this Sale Order is inconsistent with any prior order or pleading

12   with respect to the Sale Motion in this Chapter 7 case, the terms of this Sale Order shall govern.

13            40.    The effectiveness of this Sale Order is conditioned on entry of a final,

14   nonappealable order approving the motion authorizing the lease amendment [Dkt No. 762] in a

15   form that is acceptable to RestorCap, the Trustee and the State of Oregon, acting by and through

16   the Department of State Land.

17            41.    The exigencies of this case are such that Bankruptcy Rule 6004(h) is not

18   applicable to this Sale Order and nothing herein shall be construed to constitute a stay of the

19   actions authorized herein, including the closing of the sale contemplated by the Sale Motion and

20   the PSA or be construed to preclude the Trustee from immediately closing the sale contemplated

21   by the Sale Motion and the PSA.

22                                         ///END OF ORDER///

23

24

25

26

     ORDER - 15                                                                  FOSTER GARVEY PC
                                                                                1111 THIRD AVENUE, SUITE 3000
                                                                              SEATTLE, WASHINGTON 98101-3292
                                                                            PHONE (206) 447-4400 FAX (206) 447-9700

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 1   Presented by:

 2   FOSTER GARVEY PC
 3
     /s/ Deborah A. Crabbe
 4
     Deborah A. Crabbe, WSBA No. 22263
 5   Attorneys for Trustee Edmund J. Wood
 6

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     ORDER - 16                                                         FOSTER GARVEY PC
                                                                       1111 THIRD AVENUE, SUITE 3000
                                                                     SEATTLE, WASHINGTON 98101-3292
                                                                   PHONE (206) 447-4400 FAX (206) 447-9700

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 1                                                 EXHIBIT A
 2                                         LEGAL DESCRIPTION

 3   All that certain real property situated in Multnomah County, Oregon, as more particularly described as
     follows:
 4
     PARCEL I: TAX LOT 700
 5
     AN UNDIVIDED 1/3 INTEREST IN THE FOLLOWING DESCRIBED TRACT OF LAND:
 6

 7   A parcel of land situated partially in the William Gatton Donation Land Claim in the Northwest one-
     quarter
 8   of Section 35, Township 2 North, Range 1 West of the Willamette Meridian, in the City of Portland,
     County of Multnomah and State of Oregon, said parcel of land being more particularly described as
 9   follows:

10   Beginning at the Southeast corner of that parcel of land deeded to Schnitzer Investment Corporation and
     recorded June 22, 1973 in Book 933, page 1902, Record of Deeds, Multnomah County, Oregon, said
11   point being East a distance of 825.84 feet and North a distance of 2905.09 feet from the Southwest
     corner of said William Gatton Donation Land Claim; thence North 00º07'45" East along the Easterly line
12   of said Schnitzer property a distance of 674.14 feet to the Northeast corner of said Schnitzer property;
     thence North 80º32'45" West along the Northerly line of said Schnitzer property and said Northerly line
13   extended Westerly a distance of 1231.87 feet to a point of curve; thence along a 448.37 foot radius curve
     to the right through a central angle of 56º07'28" an arc distance of 439.20 feet (the long chord of said
14   curve bears North 52º29'00" West a distance of 421.85 feet) to the true point of beginning of the parcel
     of land herein described; thence South 65º34'43" West a distance of 40.00 feet; thence North 86º00'25"
15   West a distance of 30.00 feet; thence along a 462.50 foot radius curve to the left through a central angle
     of 14º08'46" an arc distance of 114.19 feet (the long chord of said curve bears North 03º04'48" West a
16
     distance of 113.90 feet) to a point of reverse curve; thence along a 488.37 foot radius curve to the right
17   through a central angle of 10º11'27" an arc distance of 88.86 feet (the long chord of said curve bears
     North 05º03'28" West a distance of 86.75 feet); thence North 00º02'16" East a distance of 252.63 feet to
18   a point that bears South 89º57'45" East a distance of 8.00 feet from a 5/8 inch iron road marking the
     Southeast corner of that parcel of land leased to Waterways Terminal Company by the Port of Portland;
19   thence South 89º57'45" East a distance of 18.00 feet; thence South 00º02'15" West a distance of 14.35
     feet to a point of curve; thence along a 371.77 foot radius curve to the left through a central angle of
20   19º48'37" an arc distance of 128.54 feet (the long chord of said curve bears South 09º52'02" East a
     distance of 127.90 feet); thence South 00º02'15" West a distance of 112.29 feet to a point of curve;
21   thence along a 448.37 foot radius curve to the left through a central angle of 24º27'32" an arc distance
     of 191.40 feet (the long chord of said curve bears South 12º11'31" East a distance of 189.95 feet) to the
22   true point of beginning.

23   PARCEL II: TAX LOT 600
24   A parcel of land situated partially in the William Gatton Donation Land Claim in the Northwest one-
     quarter of Section 35, Township 2 North, Range 1 West of the Willamette Meridian, in the City of
25   Portland, County of Multnomah and State of Oregon, said parcel of land being more particularly
     described as follows:
26

     EXHIBIT LEGAL DESCRIPTION - 1                                                    FOSTER GARVEY PC
                                                                                     1111 THIRD AVENUE, SUITE 3000
                                                                                   SEATTLE, WASHINGTON 98101-3292
                                                                                 PHONE (206) 447-4400 FAX (206) 447-9700

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 1
                                               EXHIBIT A (cont.)
 2
     Beginning at the Southeast corner of that parcel of land deeded to Schnitzer Investment Corporation and
 3   recorded June 22, 1973 in Book 933, page 1902, Record of Deeds, Multnomah County, Oregon, said
     point being East a distance of 825.84 feet and North a distance of 2905.09 feet from the Southwest
 4   corner of said William Gatton Donation Land Claim; thence North 00º07'45" East along the Easterly line
     of said Schnitzer property a distance of 674.14 feet to the Northeast corner of said Schnitzer property;
 5   thence North 80º32'45" West along the Northerly line of said Schnitzer property and said Northerly line
     extended Westerly a distance of 1231.87 feet to a point of curve; thence along a 448.37 foot radius curve
 6
     to the right through a central angle of 56º07'28" an arc distance of 439.20 feet (the long chord of said
 7   curve bears North 52º29'00" West a distance of 421.85 feet); thence South 65º34'43" West a distance of
     40.00 feet to the true point of beginning of the parcel of land herein described; thence Southwesterly
 8   along a 492.50 foot radius curve to the right through a central angle of 335°52'42" an arc distance of
     308.40 feet (the long chord of said curve bears South 21°55'56" West a distance of 303.39 feet); thence
 9   South 89°52'00" West a distance of 40.10 feet; thence Northeasterly along a 462.50 foot radius curve to
     the left through a central angle of 39°04'25" an arc distance of 315.41 feet (the long chord of said curve
10   bears North 22°31'48' East a distance of 309.33 feet); thence South 86°00'25" East a distance of 30.00
     feet to the true point of beginning.
11
     PARCEL III: TAX LOT 800
12
     AN UNDIVIDED 1/3 INTEREST IN THE FOLLOWING DESCRIBED TRACT OF LAND:
13
     A parcel of land situated partially in the William Gatton Donation Land Claim in the Northwest one-
14   quarter of Section 35, Township 2 North, Range 1 West of the Willamette Meridian, in the City of
     Portland, County of Multnomah and State of Oregon, said parcel of land being more particularly
15   described as follows:
16
     Beginning at the Southeast corner of that parcel of land deeded to the Schnitzer Investment Corporation
17   and recorded June 22, 1973 in Book 933, page 1902, Record of Deeds, Multnomah County, Oregon. Said
     point being East a distance of 825.84 feet and North a distance of 2905.09 feet from the Southwest
18   corner of said William Gatton Donation Land Claim; thence North 00º07'45" East along the Easterly line
     of said Schnitzer property a distance of 674.14 feet to the Northeast corner of said Schnitzer property;
19   thence North 80º32'45" West along the Northerly line of said Schnitzer property and said Northerly line
     extended Westerly a distance of 976.78 feet to a point of curve; thence along a 182.50 foot radius curve
20   to the left through a central angle of 09º35'15" an arc distance of 30.54 feet ( the long chord of said
     curve bears North 85º20'23" West a distance of 30.50 feet); thence South 89º52'00" West a distance of
21   224.86 feet to the true point of beginning of the parcel of land herein described. Thence continuing South
     89º52'00" West a distance of 480.72 feet; thence Northeasterly along a 492.50 foot radius curve to the
22   left through a central angle of 35º52'42" an arc distance of 308.40 feet ( the long chord of said curve
     bears North 21º55'56" East a distance of 303.39 feet); thence southeasterly along a 488.37 foot radius
23   curve to the left through a central angle of 58º07'28" an arc distance of 478.39 feet (the long chord of
     said curve bears South 52º29'00" East a distance of 459.49 feet); thence South 80º32'45" East a distance
24   of 2.98 feet to the true point of beginning.
25

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     EXHIBIT LEGAL DESCRIPTION - 2                                                    FOSTER GARVEY PC
                                                                                     1111 THIRD AVENUE, SUITE 3000
                                                                                   SEATTLE, WASHINGTON 98101-3292
                                                                                 PHONE (206) 447-4400 FAX (206) 447-9700

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                                                               Below is the Order of the Court.


 1                                             EXHIBIT A (cont.)

 2   PARCEL IV: TAX LOT 1200

 3   A parcel of land situated partially in the William Gatton Donation Land Claim in the Northwest one-
     quarter of Section 35, Township 2 North, Range 1 West of the Willamette Meridian, in the City of
 4   Portland, County of Multnomah and State of Oregon, said parcel of land being more particularly
     described as follows:
 5
     Beginning at an iron rod set at the Southeast corner of that parcel of land deeded to Schnitzer
 6
     Investment Corporation recorded June 22, 1973 in Book 933, page 1902, Record of Deeds, Multnomah
 7   County, Oregon, said point being East a distance of 825.84 feet and North a distance of 2905.09 feet
     from the Southwest corner of said William Gatton Donation Land Claim; thence North 00°07'45" East,
 8   along the Easterly line of said Schnitzer Investment Corporation property, a distance of 674.14 feet to the
     Northeast corner of said Schnitzer property; thence North 80°32'45" West, along the Northerly line of
 9   said Schnitzer property, a distance of 595.57 feet to the Northwest corner of said Schnitzer property, said
     point being the true point of beginning of the parcel of land herein described; thence South 00°07'45"
10   West, along the Westerly line of said Schnitzer property, a distance of 40.54 feet; thence North 80°32'45"
     West a distance of 639.88 feet; thence North 89°52'00" East a distance of 224.86 feet to a point of
11   curve; thence along a 182.50 foot radius curve to the right through a central angle of 09°35'15" an arc
     distance of 30.54 feet (the long chord of said curve bears South 85°20'23" East a distance of 30.50 feet);
12   thence South 80°32'45" East a distance of 381.21 feet to the true point of beginning.

13   PARCEL V: TAX LOT 1800
14   A tract of land situated in the Northwest quarter of Section 35, Township 2 North, Range 1 West of the
     Willamette Meridian, in the City of Portland, County of Multnomah and State of Oregon, being more
15   particularly described as follows:
16
     Beginning at a point in Section 34, Township 2 North, Range 1 West of the Willamette Meridian on the
17   harbor line of the Willamette River, at the intersection of said harbor line and the Southeasterly boundary
     of the strip of land 150 feet wide occupied by Bonneville Power Administration; thence South 26°17'40"
18   East along said harbor line a distance of 421.67 feet; thence North 58°59'45" East a distance of 609.26
     feet; thence South 89°52'15" East 458.95 feet; thence North 0°07'45" East 553.11 feet to the
19   intersection with the Southerly line of the parcel of land conveyed by The William Gatton Estate
     Company and George G. Gatton to Portland General Electric Company by deed dated February 7, 1941,
20   recorded February 11, 1941, in Book 588, page 515 of the Deed Records of said county; thence South
     89°49' West along the Southerly line of said tract so conveyed to Portland General Electric Company
21   261.73 feet; thence South 58°59'45" West 228.04 feet along the Southeasterly boundary of said tract so
     conveyed to Portland General Electric Company; thence North 26°17'40" West 50.17 feet along the
22   Southwesterly boundary of said tract so conveyed to Portland General Electric Company; thence South
     58°59'45" West 804.77 feet along the Southeasterly boundary of said tract occupied by Bonneville Power
23   Administration to the point of beginning.
24   PARCEL VI: TAX LOT 1900
25   A parcel of land located in the William Gatton Donation Land Claim No. 43, in the northwest one-quarter
     of Section 35, Township 2 North, Range 1 West, of the Willamette Meridian in the City of Portland,
26

     EXHIBIT LEGAL DESCRIPTION - 3                                                    FOSTER GARVEY PC
                                                                                     1111 THIRD AVENUE, SUITE 3000
                                                                                   SEATTLE, WASHINGTON 98101-3292
                                                                                 PHONE (206) 447-4400 FAX (206) 447-9700

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 1                                             EXHIBIT A (cont.)

 2   Multnomah County, Oregon, said parcel of land being more particularly described as follows:
     Beginning at the Northwest corner of said William Gatton Donation land Claim; thence North 89°46'16"
 3   East along the Northerly line of said Donation Land Claim a distance of 1,452.41 feet to a point; thence
     South 00°04'27" West a distance of 84.99 feet to a point on the North line of that tract of land as
 4   described in Deed recorded on December 11,1943 in Book 800, page 234 of the Deed Records of
     Multnomah County, said point being the true point of beginning of the parcel of land being herein
 5   described: thence North 89°46'16" East running along the North line of said tract described in Book 800,
     page 234 a distance of 257.71 feet; thence South 80°38'45* East a distance of 77.98 feet to a point;
 6
     thence South 00°04'27" West parallel with the Easterly line of said tract described in said Book 800, page
 7   234, a distance of 821.51 feet to a point; thence North 89°55'34" West a distance of 334.67 feet to the
     Northeast corner of that parcel of land recorded on October 9, 1953 in Book 1625, page 497 of the Deed
 8   Records of Multnomah County; thence South 00°02'26" West, along the Easterly line of said Book 1625,
     page 497 tract, a distance of 417.92 feet to the Southeast corner of said Book 1625, page 497 tract;
 9   thence North 89°55'34" West, along the Southerly line of said Book 1625, page 497 tract, a distance of
     614.74 feet to the Southwest corner of said Book 1625, page 497 tract; thence along the Westerly line of
10   said Book 1625, page 497 tract, the following courses and distances: thence North 00°02'26" East, a
     distance of 188.50 feet; thence North 89°55'34" West a distance of 26.10 feet; thence North 00°02'26"
11   East a distance of 229.39 feet to the Northwest corner of said Book 1625, page 497 tract; thence South
     89°55'34" East a distance of 922.01 feet to a point; thence North 57°00'29" East a distance of 570.62
12   feet; thence South 89°55'34" East a distance of 458.95 feet to a point; thence North 00°04'27" East a
     distance of 518.11 feet to a point on the Northerly line of that parcel of land described in Book 800, page
13   234; thence running along the Northerly line of said parcel of land described in Book 800, page 234,
     North 89°46'16" East a distance of 625.69 feet to the true point of beginning of the parcel of land herein
14   described.
15   PARCEL VII:
16
     Those easement rights set forth in the Easement Agreement and Release of Easements recorded
17   November 18, 2004 as Recording No. 2004-209519.

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     EXHIBIT LEGAL DESCRIPTION - 4                                                    FOSTER GARVEY PC
                                                                                     1111 THIRD AVENUE, SUITE 3000
                                                                                   SEATTLE, WASHINGTON 98101-3292
                                                                                 PHONE (206) 447-4400 FAX (206) 447-9700

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                                                            Below is the Order of the Court.


 1                                         EXHIBIT B
                                  (Purchase and Sale Agreement)
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     EXHIBIT B (Purchase and Sale Agreement)                                    FOSTER GARVEY PC
                                                                               1111 THIRD AVENUE, SUITE 3000
                                                                             SEATTLE, WASHINGTON 98101-3292
                                                                           PHONE (206) 447-4400 FAX (206) 447-9700

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                                                            Below is the Order of the Court.


 1                                       EXHIBIT C
                       (Assignment and Assumption Agreement for Lease)
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     EXHIBIT C (Assignment and Assumption Agreement for Lease)                   FOSTER GARVEY PC
                                                                                1111 THIRD AVENUE, SUITE 3000
                                                                              SEATTLE, WASHINGTON 98101-3292
                                                                            PHONE (206) 447-4400 FAX (206) 447-9700

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                                                           Below is the Order of the Court.


 1                          ASSIGNMENT AND ASSUMPTION OF
                     SUBMERGED AND SUBMERSIBLE LAND LEASE ML 7483
 2

 3
             THIS ASSIGNMENT AND ASSUMPTION OF the State of Oregon Division of Lands
 4   Submerged and Submersible Land Lease, ML 7483 (“Assignment”), is entered into and made
     effective as of the    day of                       2021 by and between Edmund J. Wood,
 5   Trustee (“Assignor”) for the bankruptcy estate of TOC HOLDINGS CO., fka Time Oil Co.,
     (“Debtor”), in Case No. 13-47285 (the “Estate”) pending in the United States Bankruptcy Court
 6   of the Western District of Washington (“Bankruptcy Court”), and Restorcap, LLC, a California
     limited liability company or assigns (“Assignee”).
 7

 8                                                 RECITALS

 9          A.     On or about February 1, 2000, Debtor entered into a certain Submerged and
     Submersible Land Lease, ML 7483 with the State of Oregon Division of State Lands (the
10   “State”) which was further amended on or about February 1, 2002, February 1, 2006, June 8,
     2011 and January 31, 2020 (as amended, the “Executory Contract”). .
11
           B.      On April 24, 2018, the Debtor filed a Chapter 7 bankruptcy petition, and the
12
     Assignor was thereafter appointed trustee of the Debtor’s bankruptcy estate.
13
             C.     Assignor and Assignee have entered into that certain Purchase and Sale
14   Agreement dated effective as of December 4, 2019 (the “Agreement”), pursuant to which
     Assignee agreed to purchase the real property and improvements described therein (the
15   “Property”) from Assignor and Assignor agreed to sell the Property to Assignee, on the terms
     and conditions contained therein. The terms of the Agreement with respect to this Assignment
16   are incorporated herein by reference.
17
             Pursuant to the Agreement, Assignor desires to assign its interest in the Executory
18   Contract as it related to the Property to Assignee, and Assignee desires to accept the assignment
     thereof, on the terms and conditions set forth below.
19
              ACCORDINGLY, the parties hereto agree as follows:
20
             As of the date on which the Property is conveyed to Assignee pursuant to the Agreement
21   (the “Conveyance Date”), Assignor hereby assigns to Assignee all of its right, title and interest in
     and to all the Executory Contract, and Assignee hereby accepts such assignment from Assignor
22
     and assumes all obligations which may relate to such Executory Contract arising from and after
23   the date hereof as set forth in Schedule I attached hereto.

24            In the event of any dispute between Assignor and Assignee arising out of the obligations
     of the parties under this Assignment or concerning the meaning or interpretation of any provision
25   contained herein, the losing party shall pay the prevailing party’s costs and expenses of such
     dispute, including, without limitation, reasonable attorneys’ fees and costs whether incurred at
26
     trial, on appeal, in any arbitration or bankruptcy proceeding or otherwise.

     Assignment and Assumption Agreement for Lease - 1                          FOSTER GARVEY PC
                                                                               1111 THIRD AVENUE, SUITE 3000
                                                                             SEATTLE, WASHINGTON 98101-3292
                                                                           PHONE (206) 447-4400 FAX (206) 447-9700

     FG:53566357.1
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                                                           Below is the Order of the Court.


 1           This Assignment shall be binding on and inure to the benefit of the parties hereto and
     their respective successors and assigns and shall be governed and construed in accordance with
 2   the laws of the State of Oregon.
 3         This Assignment may be executed in any number of counterparts, each of which shall be
 4   deemed an original, but all of which taken together shall constitute one and the same instrument.

 5            Assignor and Assignee have executed this Assignment as of the day and year first written
     above.
 6

 7
                                             ASSIGNOR:
 8
                                             EDMUND J. WOOD as Chapter 7 Trustee of the
 9                                           Bankruptcy Estates of TOC Holdings Co. formerly known
                                             as Time Oil Co
10

11
                                             By:
12
                                             Name:
13
                                             Its:
14

15
                                             ASSIGNEE:
16
                                             RESTORCAP, LLC, a California limited liability company
17

18                                           By:
19
                                             Name:
20
                                             Its:
21

22

23

24

25

26

     Assignment and Assumption Agreement for Lease - 2                         FOSTER GARVEY PC
                                                                              1111 THIRD AVENUE, SUITE 3000
                                                                            SEATTLE, WASHINGTON 98101-3292
                                                                          PHONE (206) 447-4400 FAX (206) 447-9700

     FG:53566357.1
     Case 17-11872-CMA           Doc 818      Filed 03/04/20   Ent. 03/04/20 10:40:54           Pg. 24 of 26
                                                           Below is the Order of the Court.


 1   STATE OF WASHINGTON )
                         ) .ss
 2   COUNTY OF           )
 3
             I certify that I know or have satisfactory evidence that Edmund J. Wood is the person
 4   who appeared before me, and said person acknowledged that he signed this instrument as the
     Trustee for the Estate of TOC Holdings Co., fka Time Oil Co. and acknowledged it to be his
 5   free and voluntary act for the uses and purposes mentioned in the instrument.
 6            DATED this _____ day of _______              , 20      .
 7

 8

 9                                                                                        (Name)
                                                         NOTARY PUBLIC in and for the State of
10                                                       Washington residing at:
11                                                       My Commission Expires:

12
                     Notary Seal
13
     STATE OF CALIFORNIA             )
14                                   ) .ss
15   COUNTY OF                       )

16          I certify that I know or have satisfactory evidence that ________________ is the person
     who appeared before me, and said person acknowledged that he/she signed this instrument as the
17                                   of Restorcap, LLC, a California limited liability company and
     acknowledged it to be his/her free and voluntary act for the uses and purposes mentioned in the
18   instrument.
19
              DATED this _____ day of _______              , 20      .
20

21

22
                                                                                          (Name)
23                                                       NOTARY PUBLIC in and for the State of
                                                         Washington residing at:
24                                                       My Commission Expires:

25
                     Notary Seal
26

     Assignment and Assumption Agreement for Lease - 3                            FOSTER GARVEY PC
                                                                                 1111 THIRD AVENUE, SUITE 3000
                                                                               SEATTLE, WASHINGTON 98101-3292
                                                                             PHONE (206) 447-4400 FAX (206) 447-9700

     FG:53566357.1
     Case 17-11872-CMA           Doc 818      Filed 03/04/20      Ent. 03/04/20 10:40:54           Pg. 25 of 26
                                                      Below is the Order of the Court.


 1                                      SCHEDULE I
 2                   (Copy of Submerged and Submersible Land Lease, ML 7483)

 3                    (Copy attached to PSA; copy will be attached on execution)
 4

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     Schedule I                                                           FOSTER GARVEY PC
                                                                         1111 THIRD AVENUE, SUITE 3000
                                                                       SEATTLE, WASHINGTON 98101-3292
                                                                     PHONE (206) 447-4400 FAX (206) 447-9700

     FG:53566357.1
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